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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY
-----------------------------------------------------x
                                                     :
LEGAL BAY LLC,                                       :
                                                     :
                             Plaintiff,              : Case No. 2:22-cv-03941-ES-JBC
                                                     :
                 - against -                         : Removed from the Superior Court
                                                     : of the State of New Jersey, Essex
MUSTANG FUNDING, LLC, MUSTANG : County – Chancery Division,
SPECIALTY FUNDING I, LLC,                            : Docket No. (ESX-C-000086-22)
MUSTANG SPECIALTY FUNDING II, :
LLC, JAMES BELTZ, and KEVIN                          :
CAVANAUGH,                                           :
                                                     :
                               Defendants.           :
-----------------------------------------------------x

                      REPLY IN FURTHER SUPPORT OF
                     DEFENDANTS’ MOTION TO DISMISS
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                                   ARGUMENT

      Despite their efforts to introduce additional evidence and recast the facts,

nothing in Legal Bay’s (“LB”) answering brief refutes the inescapable truth that the

Complaint itself and the documents referenced therein reveal that the parties never

entered into a joint venture.    LB fails to meaningfully contest the arguments

articulated in Mustang’s Memorandum of Law in support of its Motion to Dismiss

(“Memorandum”), which lead to only one result: dismissal of LB’s Complaint with

prejudice. Indeed, the admissions in LB’s responsive filings only serve to strengthen

Mustang’s arguments for dismissal and raise new bases for doing so. If the Court

believes it should exercise jurisdiction over Defendants, which it should not, then it

only should do so to dismiss the Complaint with prejudice, including: (i) Counts I-

VI because Christopher Janish (“Janish”) has admitted, and reaffirms in his

Declaration, that Mustang never entered into a joint venture agreement with

LB; and (ii) Count VII for breach of the LOCA’s non-solicitation provision because

that provision did not apply and could not be breached when the allegedly proscribed

conduct occurred.

I.    THE COURT LACKS PERSONAL JURISDICTION OVER DEFENDANTS

      LB effectively concedes that the Court does not have general jurisdiction over

Defendants. (See ECF 27 § I (declining to substantively address its position that the

Court has general personal jurisdiction over Defendants).)        LB also does not
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establish specific jurisdiction because it fails to show that Defendants—all based in

Minnesota—purposefully directed any alleged conduct at New Jersey or that

Defendants’ New Jersey contacts give rise to LB’s claims for relief.

      Defendants’ alleged tortious conduct does not establish specific personal

jurisdiction because LB has pled no facts showing that Defendants specifically

directed any of the relevant misconduct purportedly giving rise to its claims at New

Jersey. See IMO Indus., Inc. v. Kiekert AG, 155 F.3d 254, 265 (3d Cir. 1998) (forum

must be the “focal point” of the alleged tortious conduct). This is clear from LB’s

allegation that only 97 of the 1,680 funding contracts executed by Mustang and LB

concerned “litigation funding matters in New Jersey state and federal courts.”

(ECF 27 at 11.)

      First, LB does not, and cannot, deny that Mustang paid LB an off-contract and

carried-interest fee for all 97 funding contracts related to litigation in New Jersey.

(See ECF 19-1 at 6 (noting that Mustang indisputably has compensated LB for every

one of its successful referrals “under a broker-fee structure comprising two

payments: (i) an ‘off-contract’ payment of 7-9% of the amount funded, disbursed

upon execution of the funding contract; and (ii) a ‘carried-interest’ payment of

between 15% and 25% of any amount in excess of the funded principal ultimately

recovered by Mustang”).) Thus, those 97 funding contracts are not at issue in this

lawsuit, so any New Jersey contacts related to those funding contracts—or any


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choice-of-law or other terms in those funding contracts—are irrelevant to the

personal jurisdiction analysis. See, e.g., Rickman v. BMW of N. Am. LLC, 538 F.

Supp. 3d 429, 440 (D.N.J. 2021) (“Even if the defendant has sufficient contacts with

a forum, the plaintiffs’ claims must ‘arise out of or relate to’ those contacts.” (citing

Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1025 (2021)).

      Second, LB’s contention that 97 of the 1,680 funding contracts executed by

Mustang and LB concerned litigation in New Jersey necessarily means that the other

1,583 funding contracts executed relate to lawsuits pending in states other than New

Jersey. (ECF 26 at 11.) To be sure, Mustang also paid LB an off-contract and

carried-interest fee for all 1,583 of those funding agreements, so they too are not at

issue and not relevant to the personal jurisdiction analysis. See, e.g., Rickman, 538

F. Supp. 3d at 440 (citing Ford, 141 S. Ct. at 1025). However, they illustrate the

point that roughly 95% of Mustang’s business relates to cases in states other than

New Jersey and that Mustang by no means directs its conduct to New Jersey any

more than it does to any other state. See O’Connor v. Sandy Lane, 496 F.3d 312,

317, 323 (3d Cir. 2007) (explaining that “what is necessary is a deliberate targeting

of the forum” and holding that “specific jurisdiction requires a closer and more direct

causal connection than that provided by the but-for test”); Wolstenholme v. Bartels,

511 F. App’x 215, 220 (3d Cir. 2013) (holding that the plaintiff’s residence in the

forum was inconsequential because the alleged scheme concerned transactions and


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companies outside the forum).

      The fact remains that LB still has not identified a single New Jersey business

or individual with whom Mustang allegedly executed a funding contract without

paying LB an off-contract and carried-interest fee—i.e., a purportedly

misappropriated funding contract at issue in this lawsuit. Because all of Defendants’

alleged contacts with New Jersey cited in LB’s Complaint and answering brief

pertain to funding contracts for which Mustang has already paid LB, none of those

New Jersey contacts are relevant to this Court’s personal jurisdiction analysis. See

Rickman, 538 F. Supp. 3d at 440 (citing Ford, 141 S. Ct. at 1025); O’Connor, 496

F.3d at 317, 323.

      At most, LB’s allegations suggest Defendants’ alleged conduct purportedly

produced harm felt in New Jersey simply because LB is located there, which is

insufficient to establish specific jurisdiction. (See Janish Decl. ¶¶ 11-12 (noting that

LB is “New Jersey-based” and that Janish’s home and office “are in New Jersey”));

see, e.g., Express Freight Sys. Inc. v. YMB Enterprises, Inc., 2019 WL 7494730, at

*4 (D.N.J. Dec. 18, 2019) (holding that “a finding that the harm caused by the

defendant’s intentional tort is primarily felt within the forum” is insufficient on its

own to establish specific jurisdiction).




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II.    COUNTS I-VI FAIL BECAUSE THEY DEPEND ON THE EXISTENCE OF A JOINT
       VENTURE AGREEMENT THAT JANISH ADMITS MUSTANG REPEATEDLY
       REJECTED

       The Court must dismiss LB’s first six claims because Janish admits Mustang

never formed a joint venture or entered into any joint venture agreement with LB,

the existence of which is an essential element of every one of the offenses alleged in

Counts I-VI. LB’s inability to satisfy that element of each of the first six claims

warrants their dismissal with prejudice.

       Although the admission that Mustang and LB never formed a joint venture or

entered into any joint venture agreement is clear from Janish’s January 30, 2020,

email (the “January 30 Email”) (ECF 1-1 at 121, Ex. I), and April 15, 2020, email

(the “April 15 Email”) (ECF 19-3, Ex. 2)—both cited and discussed in Mustang’s

Memorandum (ECF 19-1 at 18-22)—LB’s answering brief (ECF 27) and Janish’s

Declaration1 (ECF 27-1) further crystalize that point. Discussing Janish’s April 15

Email containing his concession that “a formal arrangement was never progressed

by [Mustang],” (see ECF 19-3, Ex. 2 (emphasis added)), LB asserts, “[t]hat email

was in reference to the continuous efforts by [Mustang] to stall the completion of a




       1
        Paragraphs 5-7 and 14-16 of Janish’s Declaration reflect improper attempts to amend the
Complaint with new factual assertions that are neither integral to nor relied upon in that pleading.
The Court should not consider the new facts and exhibits in those paragraphs in deciding
Mustang’s Motion to Dismiss. See, e.g., McArdle v. Tronetti, 961 F.2d 1083, 1089 (3d Cir. 1992)
(“[D]efects in [a] complaint clearly [can] not be remedied by [an] affidavit.”).

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formalized agreement.”2 (ECF 27 at 18 n.2. (citing ECF 27-1, Janish Decl. ¶ 8).)

Janish’s admission is fatal—Mustang continuously refused to execute a joint venture

agreement with LB precisely because it never wanted or intended to form a joint

venture with LB.

       Indeed, it is clear why Mustang refused LB’s demands and why it is

implausible that a joint venture was formed (even if the Court were to ignore Janish’s

admission and emails confirming that there was no such joint venture).                         LB

demanded—and, despite Janish’s acknowledgement of Mustang’s repeated

rejections, somehow still claims entitlement to—25% of Mustang’s profits for

providing no additional value beyond the referrals for which LB had already been

paid. By itself, LB’s contention that Mustang agreed to such unfavorable terms is

implausible. That LB does so notwithstanding Janish’s admissions that Mustang

continuously refused to agree to those terms is simply frivolous. LB cannot claim

the existence of, and attempt to enforce, a purported agreement by which Mustang

continuously manifested an intent to not be bound on terms no reasonable


       2
          Contrary to LB’s assertion, Defendants did not “‘cherry pick’ statements contained in one
email” (ECF 27 at 18)—Defendants cited conclusive statements from two emails, one of which
LB attached as an exhibit to its Complaint. (See 19-1 § II.) While LB objects to Defendants’
purported failure to discuss the context surrounding those statements, Janish’s Declaration and
LB’s answering brief clearly show that any such context only further supports Defendants’
assessment of Janish’s admissions. (See ECF 27 at 18; ECF 27-1 ¶ 8.) And although LB contends
that “a single email—among thousands exchanged—cannot be dispositive” (ECF 27 at 18), LB
evidently could not find any email among the purported thousands to attach in support of that
point, instead improperly and futilely attempting to overcome Janish’s admissions by pleading
entirely new facts in his Declaration. (See ECF 27-1 ¶¶ 5-7, 14-16.)

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businessperson would accept. See Interactive Logistics, Inc. v. Answerthink, Inc.,

2001 WL 1825982, at *34-35 (D.N.J. June 12, 2003) (“In the negotiating process,

when plaintiff requested that defendant make certain modifications to the draft

Consulting Agreement, defendant declined to make such modifications, and the

agreement was never signed. . . . By virtue of not having signed the agreement,

defendant did not indicate an intent to be bound. Because there was no mutual intent

to be bound, the Consulting Agreement does not constitute a binding contract

between the parties.”).

       Janish’s admissions preclude LB’s recovery on Counts I-VI. The existence

of the purported joint venture agreement is a necessary predicate for each of LB’s

putative claims alleged in those first six counts—namely: (i) declaratory judgment

that the Mustang Entities formed the purported joint venture with LB; (ii) dissolution

and winding up of the purported joint venture; (iii) accounting of the purported joint

venture; (iv) breach of the purported joint venture agreement; (v) breach of fiduciary

duties supposedly arising out of Mustang’s alleged membership in the purported

joint venture; and (vi) fraudulent inducement3 of LB to form the purported joint

venture. Mr. Janish’s admission that Mustang and LB never formed a joint venture



       3
          As to LB’s failure to plead its claim for fraudulent inducement with the specificity
required under Rule 9(b), Section III of Defendants’ Memorandum fully addresses the arguments
raised in LB’s answering brief and establishes the insufficiency of LB’s allegations. (See ECF 19-
1 at 23-25.)

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or entered into any joint venture agreement therefore fatally undermines LB’s first

six claims. See Interactive Logistics, 2001 WL 1825982, at *34 (“[I]t is axiomatic

that before there can be a breach of contract there must be a contract.” (quoting

In re Alleghany Int’l, Inc., 954 F.2d 167, 175 (3d Cir. 1992))).

III.   MUSTANG STILL HAS NOT BREACHED THE LOCA AS A MATTER OF LAW

       LB’s claim for breach of the LOCA should be dismissed for the same reasons

Mustang stated in its Memorandum as well as for the additional bases that

necessarily arise from LB’s contention that the LOCA is a “by-product” of the

purported joint venture agreement.

       First, LB’s answering brief does not contest Mustang’s argument that all of

the alleged conduct underlying LB’s claim for breach of the LOCA’s non-

solicitation provision occurred well before that provision became applicable.

At most, LB vaguely and inaccurately contends that Mustang’s “arguments about

notice requirements produce a question of fact.” (ECF 27 at 25.) But, as Mustang

discusses in its Memorandum (ECF 19-1 § IV), the LOCA’s non-solicitation

provision—i.e., the sole LOCA provision on which Count VII is based—is

unambiguously inapplicable until the LOCA is cancelled. And since LB did not

provide notice of its purported cancellation of the LOCA until May 18, 2022 (ECF

19-3, Ex. 1)—two days after LB filed its Complaint—it is impossible that any of

Mustang’s alleged solicitation asserted in LB’s Complaint was prohibited by the


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then-inapplicable non-solicitation provision. This is true regardless of whether LB

was—as it now contends—alleviated from any duty to comply with the LOCA’s

cancellation notice provisions (it was not), because, again, even if it were excused

from providing 60-days’ notice of cancellation, LB still did not even attempt to

cancel the LOCA until May 18, 2022. (See id.)

      Second, LB’s suggestion that the LOCA is a “by-product” of the purported

joint venture agreement (see ECF 27 at 26)—seemingly implying that the LOCA is

part of that purported agreement—warrants dismissal of Count VII with prejudice

either because (i) LB has no separate cause of action for breach of the LOCA apart

from its claim for breach of the purported joint venture agreement (Count IV), and

(ii) Janish’s admissions that Mustang never entered into a joint venture agreement

with LB are equally fatal to Count VII for breach of the LOCA as they are for Counts

I-VI. (See supra § II.)

      Accordingly, the Court should dismiss Count VII alleging breach of the

LOCA for either of these independent bases.

IV.   THE COMPLAINT SHOULD BE DISMISSED WITH PREJUDICE

      LB’s Complaint should be dismissed with prejudice and its Motion to Amend

denied because amendment is futile. LB proposes amending the Complaint to add

claims for (i) tortious interference with existing business relationships, and

(ii) misappropriation of trade secrets under the Defend Trade Secrets Act (“DTSA”)


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and New Jersey Trade Secrets Act (“NJSA”).4 Here again, Janish’s admissions that

Mustang refused to enter a joint venture agreement with LB preclude LB from

recovering on either proposed claim.

      As with Counts I-VI of the Complaint, LB must establish the existence of a

joint venture agreement to state its proposed claims for tortious interference and

trade-secret misappropriation.     Absent a joint venture, LB cannot show that

Defendants had any duty to abstain from the alleged conduct underlying those

claims—namely, using information LB voluntarily shared and working with brokers

and “origination sources” who also have worked with LB. See Big Vision Priv. Ltd.

v. E.I. DuPont De Nemours & Co., 1 F. Supp. 3d 224, 273 (S.D.N.Y. 2014) (no

trade-secret misappropriation where the plaintiff and defendant “were not joint

venturers, or co-employees, such that [the defendant] had any special duty to [the

plaintiff],” and the defendant did not “gain[] access to [the plaintiff’s] alleged trade

secret in violation of a contractual or otherwise relevant duty, or . . . use[] improper

means to discover it”). Thus, Janish’s admissions that Mustang refused to form a

joint venture or enter a joint venture agreement with LB are equally fatal to LB’s

proposed claims for tortious interference and trade-secret misappropriation as they

are to Counts I-VI of the current Complaint. LB’s proposed amendment of the


      4
         LB also proposes naming an additional Mustang entity Defendant, TLFNJ LLC
(“TFLNJ”), purportedly involved in the same activity alleged in the current Complaint—a
cosmetic addition that does not improve the viability of LB’s claims in any respect.

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Complaint therefore is futile and its Motion to Amend should be denied. See In re

Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1435 (3d Cir. 1997) (finding

futility, in the context of discussing leave to amend, where claims would not survive

a Rule 12(b)(6) motion “even if pled with more particularity”).

                                 CONCLUSION

      For the foregoing reasons, the Court should dismiss LB’s Complaint in its

entirety with prejudice.


Dated: New York, New York
       September 19, 2022


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                        CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing instrument was

served on September 19, 2022, on all counsel of record via CM/ECF, pursuant to the

Federal Rules of Civil Procedure.




                                             /s/ David Tyler Adams
                                               David Tyler Adams




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